   Case 0:23-cv-62159-WPD Document 1 Entered on FLSD Docket 11/13/2023 Page 1 of 16




                                      UNITED STATES DISTRICT COURT
                                      SOUTHERN DISTRICT OF FLORIDA

       SINAI HOLDINGS, LLC,                                               Case No.
       a Florida limited liability company,
       and JACOB GITMAN,

               Plaintiffs,

       vs.

       JPMORGAN CHASE BANK, N.A., a foreign
       profit corporation,

             Defendant.
       _____________________________/

                                                     COMPLAINT
               Plaintiffs, SINAI HOLDINGS, LLC (“Sinai”), a Florida limited liability company, and

       JACOB GITMAN, an individual (“Gitman”) (collectively, “Plaintiffs”), sue Defendant,

       JPMORGAN CHASE BANK, N.A. (“Chase” or “Defendant”), a foreign profit corporation,

       seeking general, special, and punitive damages, as well as a preliminary and permanent injunction.

                                                     INTRODUCTION
               1.       According to Chase’s own policies, OFAC sanctions:

               are the economic arm of foreign policy used to influence countries or individuals
               violating international laws or human rights, engaging in unlawful activity such as
               narcotics trafficking, human trafficking or activity that poses a threat to other
               nations through the development and proliferation of weapons of mass destruction,
               chemical and biological weapons or acts of terror.

               2.       The United States Treasury Department operates the Office of Foreign Assets

       Control (“OFAC”), to administer and enforce United States Government sanctions against

       terrorists, human traffickers, drug smugglers, and proliferators of weapons of mass destruction,

       among other terrible entities and individuals.




                                                STOK KON + BRAVERMAN
1 E. Broward Boulevard, Suite 915 • Fort Lauderdale, FL 33301 • P.954.237.1777 • F.954.237.1737 • E-mail: service@stoklaw.com
   Case 0:23-cv-62159-WPD Document 1 Entered on FLSD Docket 11/13/2023 Page 2 of 16
                                                                                                           Complaint
                                                                                                         Page 2 of 16

               3.       Having nothing to do with whether vel non someone is subject to OFAC sanctions,

       Chase maintains an entirely separate blacklist of individuals and entities that it does not want to

       do business with or transfer money to based on its own opaque, internal, biased and dystopian

       criteria. Chase calls it their Interdiction List.

               4.       If a Chase customer tries to send money to an individual or entity on its Interdiction

       List, or to an entity controlled by or associated with someone on its Interdiction List, Chase cancels

       the transaction and publishes a pre-casted lie to its customers and intermediary banks and other

       SWIFT-registered financial institutions around the world, falsely declaring that it cannot complete

       the transaction “due to Sanctions and/or internal JPMC policy,” with Chase also making up that

       the cancellation concerns a non-existent “OFAC investigation” (“OFAC Sanctions Statement”).

               5.       Chase sends these cancellation messages with a subject line including “OFAC

       investigation – Cancellation of Payment.”

               6.       Based on how Chase intentionally and knowingly structures and comingles its

       internal departments, every time Chase cancels a transaction to someone on its Interdiction List,

       Chase’s policy is to tell its customers, banks and other financial institutions the OFAC Sanctions

       Statement – namely, that it cancelled the transaction “due to sanctions” relating to an “OFAC

       investigation” – even though an Interdiction List-transaction is never cancelled because of OFAC

       sanctions or investigations.

               7.       Adding salt to these name-killing wounds, Chase also gratuitously publishes the

       false OFAC Sanctions Statement even though Chase itself defines, knows and understands that

       OFAC sanctions are only for the worst of the criminal worst.

               8.       Chase is aware of this systemic issue from other litigation where it was sued for

       making false and defamatory statements and Chase has still refused to fix its systemic problems



                                                STOK KON + BRAVERMAN
1 E. Broward Boulevard, Suite 915 • Fort Lauderdale, FL 33301 • P.954.237.1777 • F.954.237.1737 • E-mail: service@stoklaw.com
   Case 0:23-cv-62159-WPD Document 1 Entered on FLSD Docket 11/13/2023 Page 3 of 16
                                                                                                           Complaint
                                                                                                         Page 3 of 16

       and continues to send false and defamatory statements to customers, banks and other financial

       institutions about people that it put on its Interdiction List.

               9.       That brings us to this case. Chase falsely told Gitman’s and Sinai’s business

       associates, including its lender, that it could not send them money “due to sanctions” concerning

       an “OFAC investigation.”

               10.      After hearing Chase’s defamation, Gitman’s and Sinai’s business associates did not

       want to do business with Gitman or Sinai. Plaintiffs’ lender recalled its loans because they did not

       want to do business with people, such as Gitman or Sinai, about whom Chase is internationally

       publishing that transactions with them must be cancelled because of OFAC sanctions. This lawsuit

       for damages and injunctive relief followed.

                                               JURISDICTION AND VENUE

               11.      The Court has subject matter jurisdiction under 28 U.S.C. §1332, because Plaintiffs

       are Florida citizens, Defendant is a foreign citizen, and the amount in controversy exceeds

       $75,000.00, exclusive of interest, attorney’s fees, and costs.

               12.      Venue is proper in the Southern District Court of Florida because a substantial part

       of the events or omissions giving rise to the claim occurred in this district.

               13.      Plaintiff, Sinai, is a Florida limited liability company with its principal place of

       business in Broward County, Florida, and is a Florida citizen because Sinai’s individual members

       are Florida citizens and the Sinai’s limited liability corporation member’s members are Florida

       citizens.

               14.      Plaintiff, Gitman, is a sui juris individual doing business in Broward County,

       Florida, and is a citizen of Florida.

               15.      Defendant, JPMorgan Chase Bank, N.A., is a citizen of Ohio.



                                                STOK KON + BRAVERMAN
1 E. Broward Boulevard, Suite 915 • Fort Lauderdale, FL 33301 • P.954.237.1777 • F.954.237.1737 • E-mail: service@stoklaw.com
   Case 0:23-cv-62159-WPD Document 1 Entered on FLSD Docket 11/13/2023 Page 4 of 16
                                                                                                           Complaint
                                                                                                         Page 4 of 16

                                                GENERAL ALLEGATIONS
                        a. Sinai and Gitman
               16.      Sinai is a medical services company that owns and operates medical related

       businesses including clinics, surgical centers, and medical device manufacturers.

               17.      As in many other medical businesses, Sinai is dependent on financing to operate

       and facilitate its growth.

               18.      Sinai entered a financing arrangement that allowed it to access lines of credit in

       excess of $200,000,000.00 from its lenders.

               19.      Sinai depended on its line of credit to maintain its operations and growth.

               20.      Through Sinai’s efforts and its access to its line of credit, Sinai’s value grew to over

       $600,000,000.00.

               21.      Gitman is a self-made entrepreneur and inventor and is Sinai’s principal and has

       invested substantial time, money, and effort in developing his and Sinai’s reputation and in

       growing Sinai to its current size and pre-defamation value.

                        b. Chase’s Defamatory Messaging Departments
               22.      Chase is one of the largest consumer banks in the world with over 5,100 branches

       in the United States alone.

               23.      Because Chase is a large national bank, it has substantial compliance

       responsibilities. One such responsibility is to ensure that it complies with federal laws and

       regulations prohibiting it from transferring money to sanctioned individuals, entities or countries.

               24.      In what will be clear from what follows was, at best, a reckless attempt to comply

       with that regulatory responsibility, Chase set up an internal department called the Sanctions

       Services Utility (“SSU”) to communicate with its customers or other banks and financial

       institutions who try to transfer money to sanctioned entities or countries.


                                                STOK KON + BRAVERMAN
1 E. Broward Boulevard, Suite 915 • Fort Lauderdale, FL 33301 • P.954.237.1777 • F.954.237.1737 • E-mail: service@stoklaw.com
   Case 0:23-cv-62159-WPD Document 1 Entered on FLSD Docket 11/13/2023 Page 5 of 16
                                                                                                           Complaint
                                                                                                         Page 5 of 16

               25.      After the SSU communicates with Chase’s customers, banks and other financial

       institutions, the SSU passes on whatever information it collected to a different department to

       decide whether to allow a transfer to continue or what steps Chase will take.

               26.      If Chase decides a transfer is not allowed because the recipient – or beneficiary, in

       banker talk – is subject to OFAC or other sanctions, the SSU tells its customer what particular

       sanction prevented the transfer.

               27.      Yet as explained above, for individuals or entities having nothing to do with OFAC

       sanctions, like the Plaintiffs, Chase has its Interdiction List to prevent transferring money to those

       people or entities that it arbitrarily decided it does not want to do business with for any reason or

       no legitimate reason.

               28.      Chase clumsily combines much of the screening personnel and departments at the

       SSU when processing and investigating transactions actually subject to OFAC sanctions together

       with those transactions which are simply being cancelled because they are on Chase’s internal

       Interdiction List.

               29.      Therefore, along with preventing transfers to those subject to OFAC sanctions, as

       required by federal law, Chase also prevents all transfers to those on its Interdiction List using the

       SSU to communicate the supposed reasons for the cancellations.

               30.      Because Chase intentionally commingles the screening and messaging for

       cancellations involving OFAC sanctions along with its distinct Interdiction List, the extreme

       OFAC Sanctions Statement is maliciously published to any customer, bank, or financial institution

       that does business transferring money with Chase and either of the Plaintiffs.

               31.      Neither the SSU nor any other department of Chase involved with the screening

       and cancellations of transactions responds to inquiries from customers, banks or financial



                                                STOK KON + BRAVERMAN
1 E. Broward Boulevard, Suite 915 • Fort Lauderdale, FL 33301 • P.954.237.1777 • F.954.237.1737 • E-mail: service@stoklaw.com
   Case 0:23-cv-62159-WPD Document 1 Entered on FLSD Docket 11/13/2023 Page 6 of 16
                                                                                                           Complaint
                                                                                                         Page 6 of 16

       institutions after they read the alarming OFAC Sanctions Statements and after they understand the

       messages to mean that transactions with Plaintiffs must be cancelled because of OFAC sanctions.

               32.      Chase has a separate subdepartment in the SSU to communicate to clients, banks

       or financial institutions involved with transferring money to those on Chase’s Interdiction List,

       even though those on Chase’s Interdiction List are not subject to sanctions.

               33.      Chase, throughout its many versions and amendments to its policies, continues to

       retain the specific OFAC Sanctions Statement language for the SSU to always communicate

       falsely when a transaction is cancelled because the recipient is on its Interdiction List: “We are

       unable to execute your transaction due to sanctions and/or internal JPMC Policy.”

               34.      Chase also includes specific references to non-existent OFAC investigations in the

       messages’ subject line and to irrelevant OFAC reporting sometimes within the body of the OFAC

       Sanctions Statements.

               35.      Chase only ever sends the OFAC Sanctions Statement when it cancels a transaction

       for compliance reasons and never sends that statement when a transaction is cancelled because of

       sanctions.

               36.      Upon information and belief, Chase set up and then executed its policies and

       communications in this way with the intention to harm those on its Interdiction List, especially

       against Plaintiffs based on Chase’s or its employees’ bias or animus against them.

               37.      Chase sends the OFAC Sanctions Statement to the person trying to transfer money

       to the person on its Interdiction List, and in each message Chase references the specific transaction

       number and the transaction amount and thus identifies the person on its Interdiction List, including

       Plaintiffs Sinai and Gitman.




                                                STOK KON + BRAVERMAN
1 E. Broward Boulevard, Suite 915 • Fort Lauderdale, FL 33301 • P.954.237.1777 • F.954.237.1737 • E-mail: service@stoklaw.com
   Case 0:23-cv-62159-WPD Document 1 Entered on FLSD Docket 11/13/2023 Page 7 of 16
                                                                                                           Complaint
                                                                                                         Page 7 of 16

                        c. Chase globally and wantonly defames Plaintiffs
               38.      For many years, Chase has rejected, cancelled, and otherwise prevented individuals

       and businesses from transferring funds via wire and ACH transfer to or from Plaintiffs.

               39.       Chase, through written and electronic communications told these customers,

       lenders and banks that they could not execute a transaction with Sinai and/or Gitman “due to

       sanctions” concerning an “OFAC investigation.”

               40.      The people receiving these OFAC Sanctions Statements know they are not subject

       to sanctions, OFAC or otherwise, because the OFAC sanctions list is publicly available and

       because they never had issues sending or receiving money from anyone else before their

       transactions to Plaintiffs were cancelled. Thus, the people receiving the OFAC Sanctions

       Statement understand that the sender or receiver of the funds – i.e., the Plaintiffs – must be the one

       Chase says it cannot process transactions to because of OFAC sanctions.

               41.      These statements are per se defamatory because they tend to injure and harm

       Plaintiffs’ business reputations and are accusations that they are committing serious crimes.

               42.      Not only does Chase always publish the OFAC Sanctions Statements knowing they

       are absolutely false, but the nature of OFAC crimes against humanity are so extreme that they

       intrinsically show Chase’s express malice, either or both of which subject Chase to punitive

       damages to deter this brazen and unapologetic misconduct in the future.

               43.      Upon information and belief, Chase made additional defamatory statements, both

       orally and in writing, that, without the benefit of discovery, Plaintiffs cannot assert with more

       particularity. The essence of the statements was that Plaintiffs are on or associated with sanction(s)

       lists because of criminal activity or are engaging in other suspicious business activities, all of which

       are absolutely false. Chase is in possession, custody, and control of the documents and records that

       Plaintiffs need to sufficiently identify additional instances of libel and slander.

                                                STOK KON + BRAVERMAN
1 E. Broward Boulevard, Suite 915 • Fort Lauderdale, FL 33301 • P.954.237.1777 • F.954.237.1737 • E-mail: service@stoklaw.com
   Case 0:23-cv-62159-WPD Document 1 Entered on FLSD Docket 11/13/2023 Page 8 of 16
                                                                                                           Complaint
                                                                                                         Page 8 of 16

               44.      Chase made the defamatory statements while knowing that Plaintiffs were not

       sanctioned or on any OFAC lists because Chase’s policy and organizational setup has Chase only

       make the OFAC Sanctions Statement when cancelling transactions to people on its Interdiction

       List, and Chase specifically classifies those cancellations as compliance cancellations and not

       OFAC sanctions cancellations.

                        d. Plaintiffs’ general damages and special damages
               45.      Chase’s defamation about Sinai and Gitman significantly harmed their reputations

       and caused mental anguish and suffering.

               46.      Any preexisting barbs at Plaintiffs’ reputation by blogs or otherwise were isolated,

       yet left Plaintiffs with a thinner skull – one which is more vulnerable to damage from Chase’s

       wholly new onslaughts of the OFAC Sanctions Statements that Chase lobbed directly at Plaintiffs’

       lenders, customers, vendors, banks and financial institutions around the world.

               47.      After Chase defamed Plaintiffs by telling its customers, banks and SWIFT-

       registered financial institutions everywhere that it had to cancel transactions because of the OFAC

       Sanctions Statement, Plaintiffs’ lender refused to lend additional money to Plaintiffs under their

       line of credit because of Chase’s defamatory statements.

               48.      Without access to Sinai’s line of credit, Sinai was unable to make payments as they

       came due and unable to sustain its growth or value.

               49.      In addition to Plaintiffs’ lender also closing out Plaintiffs’ line of credit, Plaintiffs’

       lenders are redeeming $120,000,000.00 from their previous infusions of funds which Plaintiffs

       could not fulfill, Plaintiffs were unable to pay rent or pay its bills for construction projects, and

       Plaintiffs are being sued for $12,000,000.00 by pharmaceutical companies for outstanding bills.

               50.      Sinai and Gitman had their bank accounts at Bank of America, Regions Bank, and

       TD Bank, among others, closed resulting from Chase’s industry-wide defamation.

                                                STOK KON + BRAVERMAN
1 E. Broward Boulevard, Suite 915 • Fort Lauderdale, FL 33301 • P.954.237.1777 • F.954.237.1737 • E-mail: service@stoklaw.com
   Case 0:23-cv-62159-WPD Document 1 Entered on FLSD Docket 11/13/2023 Page 9 of 16
                                                                                                           Complaint
                                                                                                         Page 9 of 16

               51.      As a direct and proximate result from Chase’s defamation, Sinai’s value has been

       reduced exponentially.

               52.      Gitman has suffered damage directly to his reputation and with the loss of value of

       his investment in Sinai caused by Chase’s defamation.

                        e. Chase has no privilege as it failed to act in a proper manner, on a proper
                           occasion or in good faith, or Chase abused it by acting with express malice
               53.      Chase made the defamatory statements without good faith because it set up its

       organizational structure and adopted specific policies to only make the defamatory statements

       when they are false.

               54.      When Chase made the defamatory statements here, it knew that its policies and

       organizational setup inevitably cause it to defame those on its Interdiction List.

               55.      Upon information and belief, Chase structured its departments and directed the SSU

       to defame those on its Interdiction List expressly to cause them harm, including against Plaintiffs

       because of Chase’s bias and animus against them for perceived reasons.

               56.      Chase also sent the OFAC Sanctions Statements in an improper manner and an

       improper occasion because Chase sent the messages unsolicited, Chase could have edited the

       messages to remove its defamatory language, Chase sent them contrary to standard bank practices

       and regulations, Chase published them without following its verification policies, and Chase made

       the defamatory statements to more than just accountholders.

               57.      Further, that Chase’s policies requires it to falsely state that it cancels transactions

       “due to sanctions,” when that statement is never sent for sanctions cancellations, also negates any

       claim that Chase made the statements in the proper manner or proper occasion.




                                                STOK KON + BRAVERMAN
1 E. Broward Boulevard, Suite 915 • Fort Lauderdale, FL 33301 • P.954.237.1777 • F.954.237.1737 • E-mail: service@stoklaw.com
  Case 0:23-cv-62159-WPD Document 1 Entered on FLSD Docket 11/13/2023 Page 10 of 16
                                                                                                          Complaint
                                                                                                        Page 10 of 16

               58.      Chase knows that it is falsely saying it is cancelling transactions “due to sanctions”

       involving a made up “OFAC investigation,” and refuses to change its policies or amend its

       messages to reflect the truth because it wants to harm those on its Interdiction List.

               59.      Chase’s express malice is also apparent from the defamatory statements themselves

       as Chase knows from its OFAC “sanctions” definition. Chase understands that OFAC sanctions

       are reserved for the worst criminals, including those proliferating chemical, biological, and other

       weapons of mass destruction, along with human and drug traffickers. An entity or individual that

       is involved with a transaction blocked by actual OFAC sanctions can themselves be subject to

       investigation and arrest. Yet Chase continues to knowingly communicate this false and extreme

       defamatory language about OFAC sanctions to a global, unsolicited audience.

               60.      Chase’s rejections of wire and ACH transfers to or from Plaintiffs; Chase’s

       publication of false information internally and to third parties, which information is injurious to

       Plaintiffs’ trade and profession; and Chase’s failure to advise Plaintiffs of the issues that are

       preventing individuals and businesses from receiving or sending monies have significantly

       interfered with Plaintiffs’ ability to transact business, have injured Plaintiffs’ reputation and

       goodwill, and have directly and proximately caused Plaintiffs to suffer substantial damages.

               61.      Plaintiffs have retained the undersigned attorneys to prosecute this lawsuit on their

       behalf and are required to pay said attorneys a reasonable fee for their services.

               62.      All conditions precedent to the institution and maintenance of this Action have been

       performed, excused or have otherwise occurred.

                                                      Count I
                                                 DEFAMATION (LIBEL)
               63.      Plaintiffs reallege and reincorporate the allegations in paragraphs 1 through 62 as

       if fully set forth herein.


                                                STOK KON + BRAVERMAN
1 E. Broward Boulevard, Suite 915 • Fort Lauderdale, FL 33301 • P.954.237.1777 • F.954.237.1737 • E-mail: service@stoklaw.com
  Case 0:23-cv-62159-WPD Document 1 Entered on FLSD Docket 11/13/2023 Page 11 of 16
                                                                                                          Complaint
                                                                                                        Page 11 of 16

               64.      Chase has made false statements about Plaintiffs to third parties, as outlined above,

       including, without limitation, saying that it could not complete transactions to Plaintiffs “due to

       Sanctions” relating to an “OFAC investigation.”

               65.      Chase knew the defamatory statements were false when it made them because

       Chase confirmed that Plaintiffs were not subject to sanctions or on any OFAC sanctions list before

       or after making those false and defamatory statements to Plaintiffs’ customers, business associates,

       lenders, and banks and because Chase intentionally set up its communications department for

       Interdiction List cancellations to communicate that the transactions are cancelled “due to

       sanctions” when that is never the case. No OFAC investigation is occurring either.

               66.      Chase’s false statements are defamatory per se, have significantly interfered with

       Plaintiffs’ proper exercise of its lawful business, and have caused substantial harm to Plaintiffs’

       relationships with its customers, business associates, lender, and banks. The false statements also

       tend to injure Plaintiffs in their trade and profession and accuse Plaintiffs of the worst crimes.

               67.      As a direct and proximate result of Chase’s defamatory statements, Plaintiffs have

       suffered substantial damages.

               68.      Chase’s misconduct, as described herein, was willful, wanton, and malicious. If

       such misconduct were permitted without rebuke it would encourage others to engage in such

       willful misconduct.

               WHEREFORE, for these reasons, Plaintiffs respectfully demand judgment against

       Defendant, JP MORGAN CHASE BANK, N.A. for (a) special and general damages, (b) punitive

       damages, (c) court costs, (d) pre- and post-judgment interest, and (e) any other relief that this Court

       deems just and proper.




                                                STOK KON + BRAVERMAN
1 E. Broward Boulevard, Suite 915 • Fort Lauderdale, FL 33301 • P.954.237.1777 • F.954.237.1737 • E-mail: service@stoklaw.com
  Case 0:23-cv-62159-WPD Document 1 Entered on FLSD Docket 11/13/2023 Page 12 of 16
                                                                                                          Complaint
                                                                                                        Page 12 of 16

                                                    Count II
                                            DEFAMATION BY IMPLICATION
               69.      Plaintiffs reallege and reincorporate the allegations in paragraphs 1 through 62 as

       if fully set forth herein.

               70.      Chase published information about Plaintiffs to its customers, business associates,

       lenders, and banks, as stated in the general allegations by juxtaposing or conveying incomplete

       information or omitting facts so as to imply a defamatory connection between Plaintiffs and the

       OFAC sanctions list, and thereby, falsely implying that Plaintiffs were subject to sanctions and

       related investigations.

               71.      Chase made the false statements with malice and actual knowledge about their

       falsity because Chase confirmed that Plaintiffs’ wires and transactions were not denied because of

       any OFAC or other sanctions concerns and because Chase knew that every time it makes the

       statement it is false. No OFAC investigation is occurring either.

               72.      Chase’s false statements are defamatory per se, have significantly interfered with

       Plaintiffs’ proper exercise of its lawful business, and have caused substantial harm to Plaintiffs’

       relationships with its customers, business associates, lender, and banks. The false statements also

       tend to injure Plaintiffs in their trade and profession and accuse Plaintiffs of the worst crimes.

               73.      As a direct and proximate result of Chase’s defamatory statements, Plaintiffs have

       suffered substantial damages.

               74.      Chase’s misconduct, as described herein, was willful, wanton, and malicious. If

       such misconduct were permitted without rebuke it would encourage others to engage in such

       willful misconduct.

               WHEREFORE, for these reasons, Plaintiffs respectfully demand judgment against

       Defendant, JP MORGAN CHASE BANK, N.A. for (a) special and general damages, (b) punitive


                                                STOK KON + BRAVERMAN
1 E. Broward Boulevard, Suite 915 • Fort Lauderdale, FL 33301 • P.954.237.1777 • F.954.237.1737 • E-mail: service@stoklaw.com
  Case 0:23-cv-62159-WPD Document 1 Entered on FLSD Docket 11/13/2023 Page 13 of 16
                                                                                                          Complaint
                                                                                                        Page 13 of 16

       damages, (c) court costs, (d) pre- and post-judgment interest, and (e) any any other relief that this

       Court deems just and proper.

                                                        Count III
                                              PRELIMINARY INJUNCTION
               75.      Plaintiffs reallege and reincorporate the allegations in paragraphs 1 through 62 as

       if fully set forth herein.

               76.      This is a claim for preliminary injunction against Chase to cease employing its

       policy to publish pre-formed falsities about OFAC sanctions whenever it cancels any transactions

       it is involved with relating to Plaintiffs.

               77.      Plaintiffs have a substantial likelihood of success on the merits because Chase

       knowingly, needlessly and maliciously published these indisputably false statements to customers,

       banks and other financial institutions about OFAC sanctions each and every time they canceled a

       transaction involving the Plaintiffs.

               78.      Based on the facts above, Chase made these defamatory statements regarding

       OFAC sanctions about the Plaintiffs in an improper manner, on an improper occasion and without

       any good faith. Chase also published these OFAC sanctions lies about the Plaintiffs with an intent

       to hurt the Plaintiffs and others on their Interdiction List and with extreme language that establishes

       Chase’s express malice.

               79.      Based on the conduct described herein that has continued even after Chase was

       made aware of its always-lying policies and practices on multiple levels of its organization, Chase

       will continue to defame and irreparably harm the Plaintiffs’ names and totally destroy their

       businesses. Thus, absent the entry of an injunction, Plaintiffs have no adequate remedy at law that

       will prevent the irreparable harm alleged herein.




                                                STOK KON + BRAVERMAN
1 E. Broward Boulevard, Suite 915 • Fort Lauderdale, FL 33301 • P.954.237.1777 • F.954.237.1737 • E-mail: service@stoklaw.com
  Case 0:23-cv-62159-WPD Document 1 Entered on FLSD Docket 11/13/2023 Page 14 of 16
                                                                                                          Complaint
                                                                                                        Page 14 of 16

               80.      The entry of an injunction will serve the public interest by protecting individuals

       and businesses from Chase’s false international publishing apparatus that gratuitously links its

       cancellations of transactions to made up OFAC sanctions for, at best, corporate efficiency reasons

       since Chase commingled its internal compliance screening with its OFAC sanctions department.

               81.      An injunction would not cause undue harm to Chase as the actions detailed within

       this Complaint demonstrate that Chase always publishes rubber-stamped false information as a

       systemic matter in order to hurt people on their Interdiction List, something Chase has no right or

       legitimate interest in doing.

               WHEREFORE, Plaintiffs requests that this Court enter an Order temporarily enjoining

       Defendant, JP MORGAN CHASE BANK, N.A., from continuing to publish false statements about

       OFAC sanctions any time it cancels transactions involving people on its Interdiction List who are

       never actually subject to OFAC sanctions, together with any such other and further relief that the

       Court deems just and proper.

                                                    Count IV
                                               PERMANENT INJUNCTION

               82.      Plaintiffs reallege and reincorporate the allegations in paragraphs 1 through 62 as

       if fully set forth herein.

               83.      This is a claim for permanent injunction against Chase to cease employing its policy

       to publish pre-formed falsities about OFAC sanctions whenever it cancels any transactions it is

       involved with relating to Plaintiffs.

               84.      Plaintiffs have a substantial likelihood of success on the merits because Chase

       knowingly, needlessly and maliciously published these indisputably false statements to customers,

       banks and other financial institutions about OFAC sanctions each and every time they canceled a

       transaction involving the Plaintiffs.

                                                STOK KON + BRAVERMAN
1 E. Broward Boulevard, Suite 915 • Fort Lauderdale, FL 33301 • P.954.237.1777 • F.954.237.1737 • E-mail: service@stoklaw.com
  Case 0:23-cv-62159-WPD Document 1 Entered on FLSD Docket 11/13/2023 Page 15 of 16
                                                                                                          Complaint
                                                                                                        Page 15 of 16

               85.      Based on the facts above, Chase made these defamatory statements regarding

       OFAC sanctions about the Plaintiffs in an improper manner, on an improper occasion and without

       any good faith. Chase also published these OFAC sanctions lies about the Plaintiffs with an intent

       to hurt the Plaintiffs and others on their Interdiction List and with extreme language that establishes

       Chase’s express malice.

               86.      Based on the conduct described herein that has continued even after Chase was

       made aware of its always-lying policies and practices on multiple levels of its organization, Chase

       will continue to defame and irreparably harm the Plaintiffs’ names and totally destroy their

       businesses. Thus, absent the entry of an injunction, Plaintiffs have no adequate remedy at law that

       will prevent the irreparable harm alleged herein.

               87.      The entry of an injunction will serve the public interest by protecting individuals

       and businesses from Chase’s false international publishing apparatus that gratuitously links its

       cancellations of transactions to made up OFAC sanctions for, at best, corporate efficiency reasons

       since Chase commingled its internal compliance screening with its OFAC sanctions department.

               88.      An injunction would not cause undue harm to Chase as the actions detailed within

       this Complaint demonstrate that Chase always publishes rubber-stamped false information as a

       systemic matter in order to hurt people on their Interdiction List, something Chase has no right or

       legitimate interest in doing.

               WHEREFORE, Plaintiffs requests that this Court enter an Order permanently enjoining

       Defendant, JP MORGAN CHASE BANK, N.A., from continuing to publish false statements about

       OFAC sanctions any time it cancels transactions involving people on its Interdiction List who are

       never actually subject to OFAC sanctions, together with any such other and further relief that the

       Court deems just and proper.



                                                STOK KON + BRAVERMAN
1 E. Broward Boulevard, Suite 915 • Fort Lauderdale, FL 33301 • P.954.237.1777 • F.954.237.1737 • E-mail: service@stoklaw.com
  Case 0:23-cv-62159-WPD Document 1 Entered on FLSD Docket 11/13/2023 Page 16 of 16
                                                                                                          Complaint
                                                                                                        Page 16 of 16

                                                    JURY DEMAND

               Plaintiffs demand a trial by jury of all issues so triable.

       Dated: November 13, 2023.



                                                                  Respectfully submitted,

                                                                  STOK KON+ BRAVERMAN

                                                                  Attorneys for Plaintiffs
                                                                  One East Broward Boulevard
                                                                  Suite 915
                                                                  Fort Lauderdale, Florida 33301
                                                                  Tel.: (954) 237-1777
                                                                  Fax: (954) 237-1737
                                                                  Email: jkon@stoklaw.com
                                                                  Secondary:service@stoklaw.com


                                                                  BY: /s/ Joshua R. Kon, Esq.
                                                                  JOSHUA R. KON, ESQ.
                                                                  Florida Bar No. 56147
                                                                  (jkon@stoklaw.com)
                                                                  YOSEF KUDAN, ESQ.
                                                                  Florida Bar No. 1010261
                                                                  (ykudan@stoklaw.com)




                                                STOK KON + BRAVERMAN
1 E. Broward Boulevard, Suite 915 • Fort Lauderdale, FL 33301 • P.954.237.1777 • F.954.237.1737 • E-mail: service@stoklaw.com
